                        UNITED STATES DISTRICT COURT
                 OF THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION



 MADISON CAWTHORN, an individual,

                                              Plaintiff,
        v.

 MR. DAMON CIRCOSTA, in his official capacity
 as Chair of the North Carolina State Board of Elec-
 tions, MS. STELLA ANDERSON, in her official
 capacity as a member of the North Carolina State
 Board of Elections, MR. JEFF CARMON, in his           Civ. No.
 official capacity as a member of the North Carolina
 State Board of Elections, MR. STACY EGGERS
 IV, in his official capacity as a member of the North
 Carolina State Board of Elections, MR. TOMMY
 TUCKER, in his official capacity as a member of
 the North Carolina State Board of Elections, MS.
 KAREN BRINSON BELL, in her official capacity
 as the Executive Director of the North Carolina
 State Board of Elections.
                                           Defendants.

     Plaintiff’s Verified Complaint for Declaratory and Injunctive Relief

       Plaintiff Madison Cawthorn complains against Defendants as follows:

                                          Introduction

1.     This is a civil action for declaratory and injunctive relief arising under the First and

Fourteenth Amendments of the Constitution of the United States, under 42 Cong. Ch. 194, May

22, 1872, 17 Stat. 142, as well as 42 U.S.C. §§ 1983 and 1988.

2.     This civil action concerns the constitutionality of North Carolina law, which Rep.

Cawthorn is subject to and which has been applied against him. See generally N.C.G.S. § 163-

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127.1, et seq. This state law allows any qualified voter registered in the same district as the office

as a candidate for “any elective office in the State” to file a challenge that the Candidate does not

meet the constitutional or statutory qualifications for the office. N.C.G.S. §§ 163-127.1, 127.2(b).

                                   Jurisdiction and Venue

3.     This action arises under 42 U.S.C §§ 1983 and 1988 to redress the deprivation under

color of state law of rights secured by the Constitution of the United States and under federal

law.

4.     This Court has original subject matter jurisdiction under 28 U.S.C. §§ 1331 and

1343(a)(3).

5.     This Court has the authority to provide declaratory relief under 28 U.S.C. §§ 2201 and

2202 and under Rule 57 of the Federal Rules of Civil Procedure.

6.     This Court has the authority to provide preliminary and permanent injunctive relief under

Rule 65 of the Federal Rules of Civil Procedure.

7.     This Court has personal jurisdiction over Defendants because they are domiciled in the

State of North Carolina or have otherwise made and established contacts within the State to

permit the exercise of personal jurisdiction over them.

8.     Venue is proper in this district under 28 U.S.C. § 1391(b) because the facts giving rise to

this action occurred in this District.

                                              Parties

9.     Plaintiff Madison Cawthorn (“Rep. Cawthorn”) resides in Hendersonville, North

Carolina, and currently serves as a Member of the U.S. House of Representative, for North


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Carolina’s 11th congressional district. Rep. Cawthorn filed his candidacy, for the upcoming

midterm elecions, for North Carolina’s 13th congressional district on December 7, 2021.

10.    Defendant Damon Circosta is sued in his official capacity as the Chair of the North

Carolina State Board of Elections (“NCSBE”). In his official capacity, it is his responsibility to

oversee the administration of the NCSBE, including overseeing and potentially adjudicating any

Challenges to Candidates filed under the Challenge Statute. Mr. Circosta is a person within the

meaning of 42 U.S.C. § 1983 and was acting under color of state law at all times relevant to this

Complaint.

11.    Defendant Stella Anderson is sued in her official capacity as a member of the NCSBE. In

her official capacity, it is her responsibility to oversee the administration of the NCSBE,

including overseeing and potentially adjudicating any Challenges to Candidates filed under the

Challenge Statute. Ms. Anderson is a person within the meaning of 42 U.S.C. § 1983 and was

acting under color of state law at all times relevant to this Complaint.

12.    Defendant Mr. Jeff Carmon is sued in his official capacity as a member of the NCSBE. In

his official capacity, it is his responsibility to oversee the administration of the NCSBE,

including overseeing and potentially adjudicating any Challenges to Candidates filed under the

Challenge Statute. Mr. Carmon is a person within the meaning of 42 U.S.C. § 1983 and was

acting under color of state law at all times relevant to this Complaint.

13.    Defendant Mr. Stacy Eggers, IV is sued in his official capacity as a member of the

NCSBE. In his official capacity, it is his responsibility to oversee the administration of the

NCSBE, including overseeing and potentially adjudicating any Challenges to Candidates filed



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under the Challenge Statute. Mr. Eggers is a person within the meaning of 42 U.S.C. § 1983 and

was acting under color of state law at all times relevant to this Complaint.

14.       Defendant Mr. Tommy Tucker is sued in his official capacity as a member of the

NCSBE. In his official capacity, it is his responsibility to oversee the administration of the

NCSBE, including overseeing and potentially adjudicating any Challenges to Candidates filed

under the Challenge Statute. Mr. Tucker is a person within the meaning of 42 U.S.C. § 1983 and

was acting under color of state law at all times relevant to this Complaint.

15.       Defendant Karen Brinson Bell. is sued in her official capacity as the Executive Director

of the NCSBE. In her official capacity, it is her responsibility to oversee the administration of the

NCSBE, including overseeing and potentially adjudicating any Challenges to Candidates filed

under the Challenge Statute. Ms. Bell is a person within the meaning of 42 U.S.C. § 1983 and

was acting under color of state law at all times relevant to this Complaint.1

                                                Facts

Challenge Statute

16.       Under North Carolina law, any qualified voter registered in the same district

(“Challenger”) as a candidate for “any elective office in the State” (“Candidate”) may file a

challenge that the Candidate does not meet the constitutional or statutory qualifications for the

office, including residency. (“Challenge”) N.C.G.S. §§ 163-127.1, 127.2(b); see generally


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      Defendants Mr. Damon Circosta, Ms. Stella Anderson, Mr. Jeff Carmon, Mr. Stacy Eggers
IV, Mr. Tommy Tucker, all serve as members of the NCSBE. Defendant Karen Brinson Bell
serves as the NCSBE’s Executive Director. All Defendants are named in this suit in their official
capacities. For the purposes of this Complaint, “NCSBE” refers collectively to Defendants,
named in their official capacities.

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N.C.G.S. § 163-127.1, et seq. (“Challenge Statute”).

17.     A Challenge must be filed with the NCSBE receiving the notice of the candidacy no later

than 10 business days after the close of the filing period for notice of candidacy. N.C.G.S. § 163-

127.2(a).

18.     The Challenge must be made in a verified affidavit by a challenger, based on reasonable

suspicion or belief of the facts stated. Id. at (b) (emphasis added).

Challenge Process

A.      Panel appointment

19.     If the Challenge is filed against a Candidate for an office that “contains territory in more

than one county but is less than the entire State,” the NCSBE will appoint a panel (“Panel”) to

conduct hearings on the Challenge. N.C.G.S. § 163-127.3(2).

20.     Under North Carolina law, the composition of the Panel for such a Challenge must

include: (1) “at least one member of the county board of elections in each county in the district of

the office”; (2) “an odd number of members, no fewer than three and no more than five”; (3)

appointed “members from each county in proportion to the relative total number of registered

voters of the counties in the district for the office”; and (4) appointed, “to the extent possible, . . .

members affiliated with different political parties in proportion to the representation of those

parties on the county boards of elections in the district for the office.” Id.

B.      Conduct of panel hearing

21.     The Panel must: (1) “[w]ithin five business days after the challenge is filed, designate and

announce the time of the hearing and the facility where the hearing will be held”; (2) “[a]llow for



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depositions prior to the hearing, if requested by the challenger or candidate before the time of the

hearing is designated and announced”; (3) “[i]ssue subpoenas for witnesses or documents, or

both, upon request of the parties or upon its own motion”; and (4) “[r]ender a written decision

within 20 business days after the challenge is filed and serve that written decision on the parties.”

N.C.G.S. § 163-127.4(a).

22.    The Panel must give notice of the hearing to the Challenger, the Candidate, other

candidates filing for the same office, the county chair for each political party, and for those

persons requesting notification. Id. at (b).

23.    The notice must include the copy of the Challenge or a summary of its allegations. Id.

24.    The Panel may allow evidence to be presented at the hearing, in the form of affidavits, or

the Panel may examine witnesses, who must testify under oath. Id. at (c)(1).

25.    The Panel has the authority to issue subpoenas for witnesses or documents, or both. Id.

26.    The Panel may receive evidence at the hearing from “any person with information

concerning the subject of the [C]hallenge.” Id. at (2).

27.    The hearing must be recorded by a reporter, and the full record must be preserved by the

Panel “until directed otherwise” by the NCSBE. Id. at (3).

28.    After the hearing, the Panel “shall make a written decision on each [C]hallenge by

separately stating findings of facts, conclusions of law, and an order.” Id. at (d).

C.     Burden of Proof

29.    When a Candidate is subject to a Challenge, “[t]he burden of proof shall be upon the

candidate, who must show by a preponderance of the evidence of the record as a whole that he or


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she is qualified to be a candidate for the office.” N.C.G.S. § 163-127.5(a) (emphasis added).

30.    If the Challenge is based upon the Candidate’s residency, the Candidate must show: (1)

an abandonment of the first domicile, coupled with an intent not to return to the first domicile;

(2) the acquisition of a new domicile by actual residence at another place; and (3) the intent of

making the newer domicile a permanent domicile. Id. at (b).

31.    The statute does not designate what type of proof the Candidate must provide to meet his

burden of proof for any Challenge not based upon residency. See id.

32.    The NCSBE is vested with certain general powers, which include, inter alia: general

supervision of the elections in the State; appointing and advising members of the county boards

of elections; investigation and administration of election laws; determination of the form and

content of ballots; and certifying to the appropriate county boards of elections the names of

candidates for district offices. N.C.G.S. § 163-22.

33.    Therefore, if the NCSBE, or a Panel appointed by the NCSBE, determines a challenged

Candidate does not meet the “qualifications” for office, the NCSBE could remove that

Candidate’s name from the ballot, via its certification authority, thereby preventing that

Candidate from running for office.

D.     Appeals

34.    An appeal from a Panel decision may be appealed to the NCSBE as a whole by either the

Challenger or a Candidate “adversely affected by the panel’s decision.” N.C.G.S. § 163-127.6(a).

35.    The appeal must be taken within two business days after the Panel serves its written

decision on the parties. Id.



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36.    The NCSBE must base its appellate decision “on the whole record of the hearing

conducted by the panel and render its opinion on an expedited basis.” Id.

37.    From the final order or decision by the NCSBE, appeal as of right lies directly to the

North Carolina Court of Appeals. Id.

38.    Generally, the appellate courts review administrative agency decisions with a “highly

deferential” standard. Friends of Cap. Crescent Trail v. United States Army Corps of Engineers,

855 F. App’x 121, 125 (4th Cir. 2021) (finding agency action sustained if it “provides an

explanation of its decision that includes a rational connection between the facts found and the

choice made”).

39.    Questions of law are reviewed de novo. Herrera-Martinez v. Garland, 22 F.4th 173, 180

(4th Cir. 2022).

Cawthorn Challenge

40.    Rep. Cawthorn currently serves as a Member of the U.S. House of Representative, for

North Carolina’s 11th congressional district.

41.    Rep. Cawthorn filed his candidacy, for the upcoming midterm elections, for North

Carolina’s 13th congressional district on December 7, 2021.

42.    On January 10, 2022, several Challengers filed a Challenge against Rep. Cawthorn.

43.    The Cawthorn Challenge stated that Rep. Cawthorn “does not meet the federal

constitutional requirements for a Member of the U.S. House of Representatives and is therefore

ineligible to be a candidate for such office.”

44.    The Cawthorn Challenge was based upon claims that Rep. Cawthorn engaged in



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“insurrection or rebellion” against the United States and was not qualified to be a Member of

Congress under Section Three of the Fourteenth Amendment to the U.S. Constitution.

45.       Rep. Cawthorn vigorously denies that he engaged in “insurrection or rebellion” against

the United States, but this litigation is not based in Rep. Cawthorn’s factual defenses. Instead,

this matter is before the Court based upon various constitutional and legal challenges to the

North Carolina Challenge Statute itself and its application here.

46.       On January 11, 2022, the North Carolina Superior Court for Wake County issued a stay

on all Challenges filed with the NCSBE until a “final resolution” is reached on the ongoing

litigation related to the drawing of North Carolina’s congressional districts.

47.       The congressional districts as drawn by the North Carolina legislature have been upheld

by a trial court, but the Supreme Court of North Carolina will be hearing appellate arguments of

that decision as to congressional and other districts on February 2, 2022.

48.       Rep. Cawthorn intends to run in the 2022 elections in an appropriate congressional

district for North Carolina, after the congressional map question is resolved (by either continuing

his candidacy as filed or re-filing in a different district).

                                               Standing

49.       For there to be a case or controversy under Article III, the plaintiff must have a “personal

stake” in the case—in other words, standing. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203

(2021).

50.       For a plaintiff to establish standing under Article III, he must (1) have suffered an “injury

in fact”; (2) that is fairly traceable to the challenged action of the defendant; and (3) it is likely, as


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opposed to merely speculative, that the injury will be redressed by a favorable decision. Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560–61 (1992).

51.    Here, Rep. Cawthorn meets all three Article III standing requirements under Lujan.

52.    As a candidate for Congress, Rep. Cawthorn is subject to the Challenge Statute’s

provisions, and, in fact, was challenged under the statute. If successful, a Challenge to his

candidacy would prevent him from running for Congress, which is quintessential First

Amendment activity. See Washington v. Finlay, 664 F.2d 913, 927-28 (4th Cir. 1981)

(acknowledging the First Amendment's protection of the freedom of association and of the rights

to run for office, to have one's name on the ballot, and to present one’s views to the electorate).

53.    His potential injury is not in any way hypothetical—not only is Rep. Cawthorn subject to

the Challenge Statute, a Challenge was recently filed (although currently stayed) against him.

54.    The NCSBE has the power to prevent Rep. Cawthorn’s name from appearing on the

ballot, if a Challenge against his candidacy is ultimately successful under the Challenge Statute,

thereby preventing him from running for office. . N.C.G.S. § 163-22.

55.    Rep. Cawthorn’s potential disqualification from running for office on the basis of a

successful Challenge Statute is directly traceable to the NCSBE.

56.    Under the Challenge Statute, the NCSBE has the authority to determine, after a hearing,

whether the challenged Candidate is disqualified from running for that office. N.C.G.S. § 163-

127, et seq.

57.    The decision of the NCSBE is adjudicatory and is appealable to the North Carolina Court

of Appeals.



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58.    If the current congressional districts remain in place, Rep. Cawthorn is a Candidate for

the 13th congressional district and will be subject to a Challenge (either by virtue of the court

lifting the stay or by virtue of a new Challenge). If the congressional districts are redrawn, Rep.

Cawthorn intends to file his candidacy in the appropriate district, Compl. at ¶ 48, and would be

subject to the Challenge Statue.

59.    In this way, Rep. Cawthorn’s constitutional injuries, as detailed herein, are directly

traceable to government actors, via enforcement by the NCSBE and subsequent appellate

decisions by the North Carolina State Court system.

                                     Younger Abstention

60.    Federal courts abstain from jurisdiction whenever federal claims have been or could be

presented in ongoing state judicial proceedings that concern important state interests—this

principle of abstention is known as the Younger abstention doctrine. See generally Younger v.

Harris, 401 U.S. 37 (1971).

61.    The current congressional districts, drawn after the 2020 census, are subject to current

litigation before the North Carolina Supreme Court.

62.    Because of this pending litigation, the Superior Court Division of Wake County issued a

stay against all candidacy Challenges currently filed in the NCSBE.

63.    Here, Younger does not apply because there is no “ongoing state judicial proceeding,” as

all candidacy Challenges have been stayed.

64.    Most importantly, Younger does not apply because the NCSBE has no authority to decide

the constitutional issues before this Court. The judicial power of North Carolina is fully vested in



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the judicial branch of the state government. N.C. Const. art. IV, § 1. An administrative agency

“has no power to promulgate rules and regulations which alter or add to the law it was set up to

administer or which have the effect of substantive law.” Hall v. Toreros, II, Inc., 176 N.C. App.

309.

65.    If the NCSBE determined all, or a portion, of the Challenge Statute was unconstitutional,

the statute it is set up to administer would be altered, by definition. The NCSBE does not have

that authority under law, and so Younger does not apply.

                                            COUNT I:
The Challenge Statute’s Provision triggering a government investigation based solely upon
 a Challenger’s reasonable suspicion violates Rep. Cawthorn’s First Amendment right to
                                 run for political office.
                               First Amendment Violation
                                  U.S. Const. Amend. 1
                                    (42 U.S.C. § 1983)


66.    Running for political office is quintessential First Amendment activity and afforded great

protection. See Clements v. Fashing, 457 U.S. 957, 985 (1982), (Brennan J., dissenting) (finding

“[pursuing political office] is clearly protected by the First Amendment and restrictions on it

must be justified by the State's interest in ensuring the continued proper performance of current

public duties”); Washington, 664 F.2d at 927-28 (acknowledging the First Amendment's

protection of the freedom of association and of the rights to run for office, to have one's name on

the ballot, and to present one’s views to the electorate).

67.    When an individual files a Challenge under the Challenge Statute, it automatically

triggers a hearing by the NCSBE or by a Panel appointed by the NCSBE. N.C.G.S. §§ 163-127.3;

127.4 (the NCSBE “shall” appoint a panel, the panel “shall” designate, announce, and conduct a


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hearing on the Challenge, which includes the power to subpoena and depose witnesses, and

“shall” render a decision on the Challenge).

68.     The NCSBE is an administrative agency authorized to carry out its statutorily defined

powers and is therefore a government actor, required to act within the boundaries of the U.S.

Constitution. See N.C.G.S. § 163-22.

69.     When a Challenge is filed under the Challenge Statute, the Challenger is only required to

filed a verified affidavit, based on reasonable suspicion or belief of the facts stated disqualify the

Candidate from running for office. N.C.G.S. § 163-127.2(b). (emphasis added).

70.     When someone is exercising his First Amendment rights, reasonable suspicion is not

enough to infringe on the fundamental right concerned. See Tobey v. Jones, 706 F.3d 379, 387

(4th Cir. 2013); see also Lowe v. Spears, 258 F. App’x 568, 570 (4th Cir. 2007).

71.     The Challenge Statute’s provision that allows a Challenge based upon a reasonable

suspicion—that can be less reliable than the type of information required to support probable

cause—was applied to Rep. Cawthorn, and he is subject to its provisions now.

72.     This provision of the Challenge Statute triggering a government investigation based only

upon a Challenger’s reasonable suspicion violates Rep. Cawthorn’s First Amendment right to run

for political office.




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                                          COUNT II:
The provision of the Challenge Statute which shifts the burden of proving a negative to the
     Candidate, as applied to any Challenge under Section Three of the Fourteenth
      Amendment, violates the Due Process Clause of the Fourteenth Amendment.
                                  Due Process Violation
                                U.S. Const. Amend. XIV
                                    (42 U.S.C. § 1983)


73.    A Challenge may be issued by a qualified voter based upon a reasonable suspicion that a

Candidate does not meet the constitutional or statutory qualifications for the office, including

residency. N.C.G.S. §§ 163-127.1, 127.2(b) (emphasis added).

74.    When a Candidate is subject to a Challenge, “[t]he burden of proof shall be upon the

candidate, who must show by a preponderance of the evidence of the record as a whole that he or

she is qualified to be a candidate for the office.” N.C.G.S. § 163-127.5(a) (emphasis added).

75.    In the case of a Challenge based upon residency, the proof the Candidate must provide is

relatively straightforward—documents showing a change of address could easily be provided by

the Candidate.

76.    The same is not true for a Challenge, such as the stayed Challenge here, which was

brought under the “disqualification clause,” Section Three, of the Fourteenth Amendment. Rep.

Cawthorn, under the Challenge Statute, would be required to prove by a preponderance of

evidence that he didn’t engage in an “insurrection or rebellion.”

77.    Such burden shifting is unconstitutional under Due Process Clause of the Fourteenth

Amendment.

78.    When processes implicate free speech, “the operation and effect of the method by which

speech is sought to be restrained must be subjected to close analysis and critical judgment in the


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light of the particular circumstances to which it is applied.” Speiser v. Randall, 357 U.S. 513,

520 (1958) (internal citations omitted).

79.      Here, Rep. Cawthorn is required to produce countervailing evidence to prove a negative

(i.e., he did not engage in an insurrection), based upon nothing more than the Challenger’s

“reasonable suspicion.” Such a burden shifting requirement, as applied to Rep. Cawthorn here,

violates his constitutional rights to Due Process Clause under the Fourteenth Amendment.

                                           COUNT III
      The Challenge Statute usurps the U.S. House of Representative’s power to make an
        independent, final judgment on the qualifications of its Members, so it violates
                        U.S. Const. Art. 1, § 5 of the U.S. Constitution.
                                      (42 U.S.C. § 1983)

80.      Each House shall be the Judge of the Elections, Returns and Qualifications of its own

Members, and a Majority of each shall constitute a Quorum to do Business; but a smaller

Number may adjourn from day to day, and may be authorized to compel the Attendance of absent

Members, in such Manner, and under such Penalties as each House may provide. U.S. Const. art.

I, § 5, cl. 1.

81.      This exclusive role forms the basis for the Supreme Court's reasoning in Roudebush v.

Hartke. 405 U.S. 15 (1972). The Court found that the State of Indiana had broad power to

regulate the election of Senators, which included conducting and overseeing recounts because

that power didn’t “frustrate the Senate's ability to make an independent final judgment.” Id. at

24-26.

82.      Here, the Challenge Statute permits the State of North Carolina to make its own

independent evaluation of whether a Candidate is constitutionally qualified to be elected to the



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U.S. House of Representatives or Senate. N.C.G.S. §§ 163-127.1, 127.2(b).

83.     This function reaches far beyond the State’s authority to regulate its elections, conduct

counts and recounts of votes, and other administrative functions allowed by our system of

federalism.

84.     North Carolina cannot invade or frustrate the House of Representative’s ability to make

its independent, final judgment of the qualifications of a Member.

85.     Because the Challenge Statute directly usurps Congress’ constitutional responsibilities, it

violates Article 1, § 5 of the U.S. Constitution.

                                           COUNT IV
The Challenge Section, as applied to Rep. Cawthorn under Section Three of the Fourteenth
                            Amendment, violates federal law.
                      42 Cong. Ch. 194, May 22, 1872, 17 Stat. 142

86.     Section Three of the Fourteenth Amendment reads,

        No person shall be a Senator or Representative in Congress, or elector of
        President and Vice President, or hold any office, civil or military, under the
        United States, or under any State, who, having previously taken an oath, as a
        member of Congress, or as an officer of the United States, or as a member of any
        State legislature, or as an executive or judicial officer of any State, to support the
        Constitution of the United States, shall have engaged in insurrection or rebellion
        against the same, or given aid or comfort to the enemies thereof. But Congress
        may by a vote of two-thirds of each House, remove such disability.

U.S. Const. amend. XIV, § 3 (emphasis added).

87.     Of course Congress does not have the power to “repeal” a constitutional Amendment, but

the plain language of the Amendment itself gave Congress the power to remove this particular

political disability.

88.     The Amnesty Act of 1872, reads, “all political disabilities imposed by the third section of



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the fourteenth amendment to the Constitution of the United States are hereby removed from all

persons whomsoever, except Senators and Representatives of the thirty-sixth and thirty-seventh

Congresses, officers in the judicial, military, and naval service of the United States, heads of

departments, and foreign ministers of the United States.” United States Statutes at Large, 42

Cong. Ch. 194, May 22, 1872, 17 Stat. 142 (“1872 Act”).

89.    The plain language of the 1872 Act removed the political disability of Section Three from

any Representative other than those of the 36th or 37th Congresses.

90.    Rep. Cawthorn is a Member of the 117th Session of Congress, so the 1872 Act removed

the ability to apply Section Three to Rep. Cawthorn.

91.    Since Section Three does not apply to Rep. Cawthorn (or any Member holding office

after the 37th Congress), the application of Section Three to Rep. Cawthorn is prohibited by

federal law.

                                       Prayer for Relief

WHEREFORE, Plaintiff prays for the relief set forth below:

1.     Declare that the Challenge Statute is unconstitutional under the First Amendment because

its “reasonable suspicion” standard is insufficient justification to trigger a government

investigation.

2.     Declare that the burden shifting provision of the Challenge Statute is unconstitutional

under the Due Process Clause of the Fourteenth Amendment because it requires Rep. Cawthorn

to prove a negative, as applied to any Challenge under Section Three of the Fourteenth

Amendment.


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3.     Declare that the Challenge Statute is also unconstitutional under Article 1, § 5 of the U.S.

Constitution because Congress is the exclusive judge of the qualifications of its Members.

4.     Declare that the application of Section Three of the Fourteenth Amendment to Rep.

Cawthorn is prohibited by federal law.

5.     Preliminarily and permanently enjoin Defendants from enforcing the Challenge Statute

against Rep. Cawthorn and disqualifying him from being a candidate for Congress in North

Carolina.

6.     Award all costs and expenses of bringing this action, including attorneys’ fees, costs, and

expenses; and

7.     Grant any other relief this Court deems appropriate.




Ver. Compl. for
Decl. and Inj. Relief                           18


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Ver. Compl. for
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Dated: January 31, 2022                     Respectfully Submitted,

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